   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 1 of 57 PageID #:751




                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH, MICHAEL NOWAK,               No. 1:19 CR 669 (EEC)
JEFFREY RUFFO, and CHRISTOPHER
JORDAN,

                 Defendants.



       NON-PARTY COMMODITY FUTURES TRADING COMMISSION’S
      MOTION TO QUASH PRETRIAL RULE 17 SUBPOENA DUCES TECUM




                                      Melissa Chiang
                                      Assistant General Counsel

                                      Robert Schwartz
                                      Deputy General Counsel

                                      Daniel Davis
                                      General Counsel

                                      Office of General Counsel
                                      Commodity Futures Trading Commission
                                      1155 21st Street, N.W., Washington, D.C. 20581
                                      mchiang@cftc.gov; ogcecf@cftc.gov
                                      (202) 418-5578
      Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 2 of 57 PageID #:752




                                                   TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 1

   1.        The General Course of CFTC Investigations...................................................................... 1

   2.        Hendrik Bessembinder’s Involvement in the CFTC’s Investigation .................................. 2

   3.        Procedural Posture and Subpoena ....................................................................................... 3

   4.        Description of Responsive Documents ............................................................................... 4

SUMMARY OF ARGUMENT ...................................................................................................... 5

ARGUMENT .................................................................................................................................. 6

        I.     The Subpoena Should Be Quashed Because It Seeks Irrelevant Documents
               That Would Confuse the Issues and Mislead the Jury. .................................................... 6

        II. The Subpoena Should Be Quashed Because It Calls for Inadmissible Hearsay. ............. 8

        III. The Documents Are Privileged. ....................................................................................... 9

               A. The Documents Are Protected by the Deliberative Process Privilege. ...................... 9

               B. The Attorney Work Product Doctrine Protects the Documents at Issue. ................ 14

               C. The Attorney-Client Privilege Protects the Documents at Issue. ............................ 18

CONCLUSION ............................................................................................................................. 20

CERTIFICATE OF SERVICE

EXHIBIT A - Subpoena

EXHIBIT B - Privilege Log

EXHIBIT C - Declaration




                                                                      i
     Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 3 of 57 PageID #:753




                                               TABLE OF AUTHORITIES

Cases                                                                                                                        Page(s)
Access Reports v. Dep’t of Justice,
 926 F.2d 1192 (D.C. Cir. 1991) ................................................................................................. 10

Appleton Papers, Inc. v. E.P.A.,
  702 F.3d 1018 (7th Cir. 2012) ............................................................................................. 15, 16

Avery Dennison Corp. v. UCB Films PLC,
  No. 95 C 6351, 1998 WL 703647 (N.D. Ill. Sept. 30, 1998) .................................................... 19

Beaman v. Freesmeyer,
  776 F.3d 500 (7th Cir. 2015) .................................................................................................... 14

Beaman v. Souk,
  7 F. Supp. 3d 805 (C.D. Ill. 2014)............................................................................................. 14

Binks Mfg. Co. v. Nat’l Presto Indus., Inc.,
  709 F.2d 1109 (7th Cir. 1983) ................................................................................................... 15

Bobkoski v. Bd. of Educ. of Cary Consol. Sch. Dist. 26,
  141 F.R.D. 88 (N.D. Ill. 1992) ............................................................................................ 10, 11

Bowman Dairy Co. v. United States,
  341 U.S. 214 (1951) .................................................................................................................... 6

Brady v. Maryland,
  373 U.S. 83 (1963) .................................................................................................................... 14

Canadian Javelin, Ltd. v. S.E.C.,
  501 F. Supp. 898 (D.D.C. 1980) ............................................................................................... 16

Chase v. City of Portsmouth,
  236 F.R.D. 263 (E.D. Va. 2006) ............................................................................................... 16

Cheney v. District Court,
  542 U.S. 367 (2004) .................................................................................................................. 10

Chicago Bd. Options Exch., Inc. v. Int’l Sec. Exch., LLC,
  No. 07 C 623, 2008 WL 3285751 (N.D. Ill. Aug. 8, 2008) ...................................................... 19



                                                                     ii
     Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 4 of 57 PageID #:754




Coastal States Gas Corp. v. Dep’t of Energy,
  617 F.2d 854 (D.C. Cir. 1980) .................................................................................................. 10

Dept’ of Interior v. Klamath Water Users Protective Ass’n,
 532 U.S. 1 (2001) ...................................................................................................................... 10

Duplan Corp. v. Deering Milliken, Inc.,
 540 F.2d 1215 (4th Cir. 1976) ................................................................................................... 17

E.E.O.C. v. Cont’l Airlines, Inc.,
  395 F. Supp. 2d 738 (N.D. Ill. 2005) ........................................................................................ 12

Enviro Tech Int’l, Inc. v. EPA,
  371 F.3d 370 (7th Cir. 2004) ....................................................................................................... 9

Furminator, Inc. v. Kim Laube & Co.,
  No. 4:08CV00367, 2009 WL 5176562 (E.D. Mo. Dec. 21, 2009) ........................................... 17

Golden Trade, S.r.L. v. Lee Apparel Co.,
 143 F.R.D. 514 (S.D.N.Y. 1992) .............................................................................................. 18

Grand Cent. P’ship, Inc. v. Cuomo,
  166 F.3d 473 (2d Cir. 1999) ...................................................................................................... 10

Hickman v. Taylor,
  329 U.S. 495 (1947) .................................................................................................................. 17

Hollinger Int’l Inc. v. Hollinger Inc.,
 230 F.R.D. 508 (N.D. Ill. 2005) ................................................................................................ 15

In re Brand Name Prescription Drugs Antitrust Litig.,
  No. 94 C 897, MDL 997, 1995 WL 531805 (N.D. Ill. Aug. 18, 1995) .................................... 20

In re Dayco Corp. Derivative Sec. Litig.,
  99 F.R.D. 616 (S.D. Ohio 1983) ............................................................................................... 17

In re Sealed Case,
  121 F.3d 729 (D.C. Cir. 1997) ............................................................................................ 12, 13

In re Sealed Case,
  676 F.2d 793 (D.C. Cir. 1982) .................................................................................................. 12

In re Special Sept. 1978 Grand Jury (II),
  640 F.2d 49 (7th Cir. 1980) ....................................................................................................... 15

                                                                    iii
     Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 5 of 57 PageID #:755




In re Vecco Instruments, Inc. Sec. Litig.,
  No. 05 MD 1695, 2007 WL 210110 (S.D.N.Y. Jan. 25, 2007) ................................................ 16

Ivy Sports Med., LLC v. Sebelius,
  No. 11-CV-1006, 2012 WL 5248176 (D.D.C. Oct. 24, 2012).................................................. 12

Jordan v. U.S. Dep’t of Justice,
  591 F.2d 753 (D.C. Cir. 1978) .................................................................................................... 9

Lawrence E. Jaffe Pension Plan v. Household Intern., Inc.,
  244 F.R.D. 412 (N.D. Ill. 2006) ................................................................................................ 19

Marisol A. v. Giuliani,
 No. 95 CIV. 10533, 1998 WL 132810 (S.D.N.Y. Mar. 23, 1998) ............................................ 12

Miller v. U.S. Dept. of Justice,
 562 F. Supp. 2d 82 (D.D.C. 2008) ............................................................................................ 11

Murata Mfg. Co. v. Bel Fuse, Inc.,
 No. 03 C 2934, 2007 WL 781252 (N.D. Ill. Mar.8, 2007) ........................................................ 19

N.L.R.B. v. Sears, Roebuck & Co.,
  421 U.S. 132 (1975) .................................................................................................................... 9

Perez v. Mueller,
  No. 13-CV-1302, 2016 WL 6882851 (E.D. Wis. Nov. 22, 2016) ............................................ 10

Rates Tech., Inc. v. Elcotel, Inc.,
  118 F.R.D. 133 (M.D. Fla. 1987) .............................................................................................. 19

Robinson v. Morgan Stanley,
  No. 06 C 5158, 2010 WL 1050288 (N.D. Ill. Mar. 17, 2010) .................................................. 20

Russell v. Dep’t of the Air Force,
  682 F.2d 1045 (D.C. Cir. 1982) .................................................................................................. 9

S.E.C. v. Sentinel Mgmt. Grp., Inc.,
  No. 07 C 4684, 2010 WL 4977220 (N.D. Ill. Dec. 2, 2010) ......................................... 10, 13, 15

S.E.C. v. Somers,
  No. 3:11-CV-00165, 2013 WL 4045295 (W.D. Ky. Aug. 8, 2013) ......................................... 16

SafeCard Servs., Inc. v. S.E.C.,
  926 F.2d 1197 (D.C. Cir. 1991) ................................................................................................ 15

                                                                    iv
     Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 6 of 57 PageID #:756




Santullo v. City of Woburn,
  No. 07-11478, 2008 WL 2778819 (D. Mass. July 14, 2008) .................................................... 12

Sourgoutsis v. U.S. Capitol Police,
  323 F.R.D. 100 (D.D.C. 2017) .................................................................................................. 13

Tigue v. U.S. Dep't of Justice,
  312 F.3d 70 (2d Cir. 2002) ........................................................................................................ 10

United States v. Bd. of Educ. of City of Chicago,
 610 F. Supp. 695 (N.D. Ill. 1985) ............................................................................................. 19

United States v. Brown,
 No. 95 CR. 168, 1995 WL 387698 (S.D.N.Y. June 30, 1995) ............................................... 6, 8

United States v. Ceballo,
 No. 03 CR 283, 2003 WL 21961123 (S.D.N.Y. Aug. 18, 2003) ................................................ 8

United States v. Cherry,
 876 F. Supp. 547 (S.D.N.Y. 1995) .............................................................................................. 6

United States v. Cuthbertson,
 630 F.2d 139 (3d Cir. 1980) ........................................................................................................ 6

United States v. Cuthbertson,
 651 F.2d 189 (3d Cir. 1981) .................................................................................................. 8, 14

United States v. Farley,
 11 F.3d 1385 (7th Cir. 1993) ......................................................................................... 10, 13, 14

United States v. Klein,
 No. 16-cr-442, 2017 WL 1316999 (E.D.N.Y. Feb. 10, 2017) ..................................................... 8

United States v. Klein,
 No. 16-cr-442, 2017 WL 782326 (E.D.N.Y. Feb. 28, 2017) .................................. 6, 7, 8, 17, 18

United States v. Kovel,
 296 F.2d 918 (2d Cir. 1961) ...................................................................................................... 18

United States v. Murray,
 297 F.2d 812 (2d Cir. 1962) ........................................................................................................ 6

United States v. Nixon,
 418 U.S. 683 (1974) .............................................................................................................. 5, 10

                                                                   v
      Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 7 of 57 PageID #:757




United States v. Nobles,
 422 U.S. 225 (1975) ............................................................................................................ 15, 17

United States v. O’Malley,
 786 F.2d 786 (7th Cir.1986) ...................................................................................................... 19

United States v. Reyes,
 239 F.R.D. 591 (N.D. Cal. 2006) .................................................................................. 5, 7, 8, 17

United States v. Rich,
 No. S 83 Cr. 579, 1984 WL 845 (S.D.N.Y. Sept.7, 1984) .......................................................... 6

United States v. White,
 950 F.2d 426 (7th Cir. 1991) ..................................................................................................... 18

United States v. Zingsheim,
 384 F.3d 867 (7th Cir. 2004) ..................................................................................................... 10

Zenith Elecs. Corp. v. Exzec, Inc.,
  No. 96 C 5041, 1997 WL 798908 (N.D. Ill. Dec. 24, 1997) ..................................................... 19

Statutes
7 U.S.C. §§ 1-26 ............................................................................................................................. 1
7 U.S.C. § 6c(a)(5)(C)..................................................................................................................... 3
7 U.S.C. § 9(1) ................................................................................................................................ 3
7 U.S.C. § 13(a)(2) .......................................................................................................................... 3
7 U.S.C. § 13a-1(a) ......................................................................................................................... 2

Rules
Fed. R. Civ. P. 26(b)(3)(A)(ii) ...................................................................................................... 17
Fed. R. Crim. P. 16 ......................................................................................................................... 6
Fed. R. Evid. 401(a) ........................................................................................................................ 6
Fed. R. Evid. 403 ............................................................................................................................ 6
Fed. R. Evid. 802 ............................................................................................................................ 8
Fed. R. Evid. 803-807 ..................................................................................................................... 8

Regulations
17 C.F.R. pts. 1-190 ........................................................................................................................ 1
17 C.F.R. § 180.1(a)(1) ................................................................................................................... 3
17 C.F.R. § 180.1(a)(3) ................................................................................................................... 3



                                                                       vi
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 8 of 57 PageID #:758




                                       INTRODUCTION

       In connection with the above-captioned criminal proceeding, the Commodity Futures

Trading Commission (“CFTC” or the “Commission”) received from Defendant Gregg Smith

(“Smith”) a subpoena duces tecum issued pursuant to Rule 17(c) of the Federal Rules of

Criminal Procedure (the “Subpoena”). The CFTC is an independent federal agency charged with

administering and enforcing the Commodity Exchange Act (“CEA”), 7 U.S.C. §§ 1-26, and

regulations thereunder, 17 C.F.R. pts. 1-190. The Subpoena seeks the production of materials in

the Commission’s files related to an analysis by a CFTC consultant, Dr. Hendrik Bessembinder,

retained by the CFTC to assist in its administrative investigation of Smith. The Commission

moves to quash the Subpoena, because it fails to meet the relevance and admissibility

requirements of Rule 17(c), and because all responsive documents in the Commission’s

possession, aside from those Smith has already obtained, are protected from disclosure by the

deliberative process privilege, attorney work product doctrine, and the attorney-client privilege.

                                        BACKGROUND

       1.      The General Course of CFTC Investigations

       The Commission is composed of five Commissioners, who undertake agency action by

majority vote. Among other things, this includes the decision of whether to initiate a civil

enforcement action for violations of the CEA and CFTC regulations. Day to day, Commission

business is done through several operating divisions. The Division of Enforcement (the

“Division”) investigates potential violations of the CEA or Commission regulations, and

formulates recommendations to the Commission on the basis of those activities. Division staff

includes attorneys, economists, and investigators. Upon a recommendation from the Division,

the Commissioners vote on whether to file a civil enforcement action in federal court pursuant to



                                                 1
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 9 of 57 PageID #:759




7 U.S.C. § 13a-1(a) or to initiate administrative proceedings. If the Commission files a

complaint, Division staff are responsible for litigating the case.

       2.      Hendrik Bessembinder’s Involvement in the CFTC’s Investigation

       In 2017, during the CFTC’s investigation into possible violations of the CEA or the

Commission’s regulations by Smith, but before any civil complaint was filed, the CFTC retained

Dr. Hendrik Bessembinder as an expert consultant to assist the Division in its investigation. At

the direction of CFTC attorneys, Bessembinder reviewed and analyzed certain trading activity by

Smith to determine whether Smith may have engaged in the illegal disruptive trading practice

known as “spoofing.” Division staff also shared with Bessembinder their preliminary analysis,

legal theories, and opinions. Bessembinder’s preliminary analysis indicated that some of Smith’s

trading activity may not appear consistent with spoofing. Bessembinder’s analysis and

preliminary conclusions were conveyed to CFTC staff orally and via email.

       Bessembinder’s last work on this project was on February 1, 2018. His consulting

contract formally expired in September 2018 and was not renewed. Bessembinder did not

produce a written report of his conclusions. Division staff continued their investigation and

ultimately sought and received authorization to file a civil complaint against Smith and Michael

Nowak (“Nowak”), which the Commission filed on September 16, 2019.

       The trade data showing Smith’s precious metals futures trading that was obtained by the

CFTC in its investigation—including the trade data provided to Bessembinder for use in his

analysis—was provided to the CFTC by CME Group (“CME”) and has already been produced

by the Department of Justice (“DOJ”) to defendants in this case. See Oct. 22, 2019 Tr., 5:22-25,

ECF No. 41 (“We’ve also produced data from the Chicago Mercantile Exchange [CME]




                                                  2
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 10 of 57 PageID #:760




covering 2008 through 2016 which includes every order placed, modified, canceled, executed

during that time period.”).

       Before the Commission filed its complaint, the Division orally informed DOJ that

Bessembinder was a former consultant for the Division of Enforcement and that his preliminary

analysis indicated that some of Smith’s trading activity may not appear consistent with spoofing.

The Division did not identify to DOJ any information, documents, or communications related to

Bessembinder’s analysis—including the specific materials Bessembinder reviewed, the

parameters or methods used in his analysis, the time period or contracts he analyzed, or any other

information or documents related to his engagement. DOJ later informed the Division that DOJ

had sent a letter to the criminal defendants informing them of DOJ’s understanding about the

CFTC’s engagement of Bessembinder.

       3.      Procedural Posture and Subpoena

       Smith, Nowak, and Christopher Jordan were indicted on August 22, 2019 (with a

superseding indictment on November 14, 2019 adding Jeffrey Ruffo). See ECF Nos. 1, 52. On

September 16, 2019, the same day that the initial indictment was unsealed, the Commission filed

a civil injunctive action in this district against Smith and Nowak, alleging that they engaged in

spoofing; used a manipulative and deceptive device, scheme, or artifice; and attempted price

manipulation, in violation of CEA Sections 4c(a)(5)(C), 6(c)(1), and 9(a)(2), 7 U.S.C.

§§ 6c(a)(5)(C), 9(1), 13(a)(2), and Commission Regulation 180.1(a)(1) and (3), 17 C.F.R.

§ 180.1(a)(1), (3). Complaint for Injunctive Relief, Civil Monetary Penalties, & Other Equitable

Relief, CFTC v. Nowak, No. 19-cv-6163 (N.D. Ill. Sept. 16, 2019), ECF No. 1.




                                                 3
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 11 of 57 PageID #:761




       DOJ moved to intervene in the civil case and to stay proceedings during the pendency of

the criminal case. Notification of Docket Entry, CFTC v. Nowak, No. 19-cv-6163 (N.D. Ill. Nov.

13, 2019), ECF No. 37. Smith and Nowak opposed the motion, which remains pending.

       On December 17, 2019, Smith served the Commission with the Subpoena, which

demands the following “Documents To Be Produced”:

            A.   All Documents that refer or relate to Dr. Hendrik Bessembinder’s review of
                 certain trading activity by Smith and/or his conclusion whether Smith’s trading
                 activity was consistent with spoofing (the “Bessembinder Report”).

            B.   All Documents and Communications that Dr. Bessembinder relied on in
                 preparing or forming his conclusions in the Bessembinder Report.

            C.   All Communications that refer to, relate to, or concern the Bessembinder Report,
                 including but not limited to Communications between the CFTC and DOJ.

Subpoena at 5 (attached hereto as Exhibit A). The Subpoena sought production of the requested

materials on or before January 10, 2020. Smith consented to extend the return date to February

10, 2020, with any motion to quash to be filed by January 31, 2020.

       4.        Description of Responsive Documents

       With respect to category “A” of “Documents To Be Produced,” there is no

“Bessembinder Report” containing the conclusions of Bessembinder’s review. With respect to

category “B,” the CFTC knows of no CME trade data reviewed or analyzed by Bessembinder

that has not already been produced to Smith. With respect to category “C,” the CFTC has

identified no written communications between the CFTC and DOJ regarding Bessembinder, and

no documents created by Bessembinder or discussing Bessembinder were shared with DOJ. The

Commission has identified non-substantive documents that arguably could be deemed responsive

to the Subpoena, such as communications about Bessembinder’s contract and the scheduling of

teleconferences. However, Smith’s counsel has indicated that the Subpoena does not seek such

documents.
                                                 4
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 12 of 57 PageID #:762




       Accordingly, the only documents responsive to the Subpoena, aside from CME trade data

that has already been produced to Smith by DOJ, are: (1) emails and documents shared between

Bessembinder and CFTC attorneys, economists, and investigators, (2) internal emails and chats

between CFTC attorneys, economists, and investigators, and (3) internal CFTC notes relating to

Bessembinder’s work.1

                                 SUMMARY OF ARGUMENT

       A party seeking pre-trial production of documents under Rule 17(c) must show that the

materials sought are (1) relevant, (2) admissible, and (3) specifically identified. See United

States v. Nixon, 418 U.S. 683, 700 (1974). Privileged materials need not be produced. United

States v. Reyes, 239 F.R.D. 591, 598 (N.D. Cal. 2006) (holding that a subpoena should be

quashed if it calls for privileged matter). This Court should quash the Subpoena for the

following separate and independent reasons:

       (1)     All of the responsive documents are inadmissible because they are irrelevant, and

any probative value they might have would be substantially outweighed by the danger that

injecting Bessembinder’s preliminary opinions into the trial would confuse the issues and

mislead the jury;

       (2)     All of the responsive documents are inadmissible because they are hearsay; and

       (3)     All of the responsive documents are protected by one or more privileges,

including the deliberative process privilege, work product protection, and attorney-client

privilege, and none of these privileges have been waived.



1
  Pursuant to this Court’s Case Procedures, counsel for CFTC have conferred with defense counsel
regarding the CFTC’s objections to the Subpoena. CFTC attorneys spoke with defense counsel by
telephone on January 15 and January 17, 2020, and exchanged additional phone calls and emails. While
the issues were narrowed, an agreement could not be reached. Counsel for Smith opposes this motion and
intends to file a response in opposition to this motion.
                                                  5
     Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 13 of 57 PageID #:763




                                          ARGUMENT

I.      The Subpoena Should Be Quashed Because It Seeks Irrelevant Documents That
        Would Confuse the Issues and Mislead the Jury.

        Rule 17(c) is not a discovery device. See United States v. Cherry, 876 F. Supp. 547, 552

(S.D.N.Y. 1995); Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951) (“Rule 17(c)

was not intended to provide an additional means of discovery.”). To treat it as such would

“undercut[] the strict limitation of discovery in criminal cases found in Fed. R. Crim. P. 16.”

United States v. Cuthbertson, 630 F.2d 139, 146 (3d Cir. 1980). Thus, Rule 17(c) may only be

used to obtain materials which would be admissible as evidence at the trial. See Bowman Dairy

Co., 341 U.S. at 221; United States v. Murray, 297 F.2d 812, 821 (2d Cir. 1962); United States v.

Rich, No. S 83 Cr. 579, 1984 WL 845, at *3 (S.D.N.Y. Sept.7, 1984) (“Rule 17(c) requires a

showing that the materials sought are currently admissible in evidence; it cannot be used as a

device to gain understanding or explanation.”) (citation omitted). A defendant propounding a

Rule 17(c) subpoena “has the burden of specifically identifying the materials sought, and

showing that they are relevant and admissible.” United States v. Brown, No. 95 CR. 168, 1995

WL 387698, at *9 (S.D.N.Y. June 30, 1995) (citations omitted).

        To be admissible, an item of evidence must be relevant, meaning that it must have some

“tendency to make a fact more or less probable than it would be without” it. Fed. R. Evid.

401(a). Relevant documents may be inadmissible in any event if any probative value they might

have would be substantially outweighed by the risks of confusing the issues and misleading the

jury. See Fed. R. Evid. 403. Smith’s Subpoena fails on these interrelated grounds.

        A recent decision of the U.S. District Court for the Eastern District of New York is

instructive. In United States v. Klein, No. 16-cr-442, 2017 WL 782326 (E.D.N.Y. Feb. 28,

2017), a criminal defendant served a Rule 17(c) subpoena on the Securities and Exchange


                                                 6
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 14 of 57 PageID #:764




Commission (“SEC”), demanding a memorandum created in a parallel civil investigation. The

document was an “SEC Action Memorandum” containing recommendations by SEC staff

preceding the SEC’s decision not to sue that defendant. The court quashed the subpoena,

holding that even if it were assumed that the SEC’s memorandum had any relevance, it was

nevertheless inadmissible under Rule 403. The court found that the document would be

confusing to the jury, as it would essentially ask the jury

               whether the SEC or DOJ “got it right.” This would divert the jury
               from their proper role, which is to determine whether the
               government’s evidence at trial proves [defendant’s] guilt beyond a
               reasonable doubt. Further, the fact that the SEC and DOJ
               conducted separate investigations and made their decisions based
               on different bodies of evidence would heighten the jury’s
               confusion if forced to compare the two decisions.

Id. at *5; see also Reyes, 239 F.R.D. at 600 (“[T]he second-hand reflections, findings, and

conclusions” of attorneys conducting an internal investigation on behalf of defendant’s former

employer “would not themselves become evidence at trial to prove the truth of the matters they

assert,” and any “formal opinion about whether any crimes were committed would not be

relevant evidence—that determination is for a jury . . . to make[.]”).

       Here, the responsive emails and other documents would pose problems at least as serious

as those identified in Klein. The relevant issue in this criminal case is whether Smith engaged in

the illegal trading activities as charged, and Smith has the relevant trade data. It is wholly

irrelevant what Bessembinder thought when he preliminarily analyzed that data. Presenting any

documents related to Bessembinder’s preliminary analysis would ask the jury “to determine

whether the [Commission’s former consultant] or DOJ ‘got it right.’” Klein, 2017 WL 782326,

at *5. Accordingly, as in Klein, any probative value from introduction of documents concerning

the CFTC’s consultant for its investigation would be substantially outweighed by the danger of

unfair prejudice and confusion.
                                                  7
      Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 15 of 57 PageID #:765




II.      The Subpoena Should Be Quashed Because It Calls for Inadmissible Hearsay.

         A Rule 17(c) subpoena may also not be used to obtain inadmissible hearsay. United

States v. Cuthbertson, 651 F.2d 189, 195 (3d Cir. 1981) (materials which were hearsay on their

face and therefore were not admissible as evidence at trial were not subject to Rule 17(c)

subpoena). Hearsay is inadmissible under Federal Rule of Evidence 802, unless an exception

applies. See Fed. R. Evid. 803-807. In this case, all of the responsive documents are

inadmissible hearsay, because all of them are out-of-court statements that could only be used to

prove the truth of the matters asserted therein, and no exception applies.

         Numerous courts have found that internal investigative files and the thoughts, opinions or

conclusions of attorneys or investigators about the weight or value of evidence or legal theories

are inadmissible hearsay. See Klein, 2017 WL 782326, at *5 (finding that an SEC “Action

Memorandum,” recommending whether or not the SEC should bring charges is inadmissible

hearsay); United States v. Klein, 16-cr-442, 2017 WL 1316999, at *2-8 (E.D.N.Y. Feb. 10, 2017)

(finding that the SEC complaint and charging decision are inadmissible hearsay); Reyes, 239

F.R.D. at 600 (finding that “summaries, notes and memoranda” related to interviews, “evidence

of what [counsel] told the government about these interviews,” and “second-hand reflections,

findings, and conclusions of investigating attorneys” constitute inadmissible hearsay); United

States v. Ceballo, No. 03 CR 283, 2003 WL 21961123, at *2 (S.D.N.Y. Aug. 18, 2003)

(quashing a Rule 17(c) subpoena seeking internal police department investigatory files because

such documents are inadmissible hearsay); Brown, 1995 WL 387698, at *10 (NYPD interview

“memoranda would, of course, be hearsay, and inadmissible as evidence at trial.”) (citations

omitted).

         In this case, all of the documents sought by the Subpoena (except for the CME trade data

which are already in Smith’s possession) are hearsay. Accordingly, the Subpoena should be
                                                 8
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 16 of 57 PageID #:766




quashed.

III.    The Documents Are Privileged.

        The Subpoena also must be quashed because all of the responsive materials (apart from

the CME data already in Smith’s possession) are protected by the deliberative process privilege

and work product protection, and most of the documents are protected by attorney-client

privilege.2 A privilege log is attached hereto as Exhibit B.

        A.      The Documents Are Protected by the Deliberative Process Privilege.

        The deliberative process privilege protects communications that are part of the decision-

making process of a governmental agency. N.L.R.B. v. Sears, Roebuck & Co., 421 U.S. 132,

150-52 (1975). To qualify, an intra-agency document must be (a) predecisional (antecedent to an

agency determination); and (b) deliberative (related to the process of making the determination).

Enviro Tech Int’l, Inc. v. EPA, 371 F.3d 370, 374-75 (7th Cir. 2004).

        The privilege serves three critical public purposes: (1) it protects creative debate and

candid consideration of alternatives within an agency, and, thereby, improves the quality of

agency policy decisions; (2) it prevents public confusion from premature disclosure of agency

opinions before the agency establishes its final policy; and (3) it protects the integrity of the

decision-making process itself by confirming that “officials should be judged by what they

decided(,) not for matters they considered before making up their minds.” Russell v. Dep’t of the

Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982) (quoting Jordan v. U.S. Dep’t of Justice, 591

F.2d 753, 772-73 (D.C. Cir. 1978)).

        The document at issue need not reflect the policy of the agency itself—the personal

opinions of the writer will suffice, so long as the document is predecisional and deliberative.

2
 As set out in the privilege log, all of the responsive documents are protected from disclosure under the
deliberative process privilege and work product doctrine. Most of the responsive documents also
constitute communications subject to the attorney-client privilege.
                                                     9
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 17 of 57 PageID #:767




S.E.C. v. Sentinel Mgmt. Grp., Inc., No. 07 C 4684, 2010 WL 4977220, at *3 (N.D. Ill. Dec. 2,

2010) (citing Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 866 (D.C. Cir. 1980));

Bobkoski v. Bd. of Educ. of Cary Consol. Sch. Dist. 26, 141 F.R.D. 88, 93 (N.D. Ill. 1992); Tigue

v. U.S. Dep't of Justice, 312 F.3d 70, 80 (2d Cir. 2002); Access Reports v. Dep’t of Justice, 926

F.2d 1192, 1196 (D.C. Cir. 1991) (documents do not have to contribute to the ultimate

conclusion in order to fall within the privilege). The privilege covers deliberations directly

involving high-ranking officials, United States v. Zingsheim, 384 F.3d 867, 872 (7th Cir. 2004)

(citing Cheney v. District Court, 542 U.S. 367 (2004); Nixon, 418 U.S. 683), and also

deliberations of other staff so long as the elements are satisfied, Grand Cent. P’ship, Inc. v.

Cuomo, 166 F.3d 473, 482-83 (2d Cir. 1999).3 It also covers documents generated by outside

consultants whose records “played essentially the same part in an agency’s process of

deliberation as documents prepared by agency personnel might have done.” Dept’ of Interior v.

Klamath Water Users Protective Ass’n, 532 U.S. 1, 10 (2001); see also Perez v. Mueller, No. 13-

CV-1302, 2016 WL 6882851, at *4 (E.D. Wis. Nov. 22, 2016).

        In this case, the documents sought by the Subpoena are protected from disclosure by the

deliberative process privilege because they preceded and concern the CFTC’s decision whether

or not to charge Smith and others with CEA violations. Documents about whether to undertake a

law-enforcement action or to sue are quintessentially protected deliberative materials. Sentinel

Mgmt., 2010 WL 4977220, at *5; United States v. Farley, 11 F.3d 1385, 1389 (7th Cir. 1993)


3
 “To make a threshold showing that the deliberative process privilege applies, the government must
satisfy three procedural requirements: (1) the department head with control over the matter must make a
formal claim of privilege, after personal consideration of the matter; (2) the responsible official must
demonstrate, typically by affidavit, precise and certain reasons for preserving confidentiality of the
documents in question; and (3) the official must specifically identify and describe the documents.”
Sentinel Mgmt., 2010 WL 4977220, at *4 (citation omitted). In this case, all of the documents over which
privilege is claimed are described in the privilege log (Exhibit B). In addition, a declaration from the
Director of Enforcement, James McDonald, is appended to this motion as Exhibit C.
                                                  10
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 18 of 57 PageID #:768




(holding that internal memorandum among FTC staff regarding whether Farley violated FTC

regulations, as well as a referral memorandum from FTC staff to the Department of Justice

regarding possible criminal prosecution of the same conduct, were all covered by the deliberative

process privilege); Miller v. U.S. Dept. of Justice, 562 F. Supp. 2d 82, 113 (D.D.C. 2008) (ruling

that discussions among FBI officials and other law enforcement and prosecutorial officials

regarding the “caliber of evidence possessed against [the] plaintiff and others, the proper

jurisdictions and venues in which to bring possible legal actions against plaintiff and others, the

type and nature of charges that could be brought, and the possible repercussions of such

actions[,]” were covered by the deliberative process privilege). And “in the vast majority of

cases,” an agency’s internal discussions about litigation are “protected by the privilege.”

Bobkoski, 141 F.R.D. at 93.

       As part of this Commission’s investigation, the Division hired Bessembinder to assist

staff in analyzing trade data so that the Division could make a recommendation to the

Commission regarding whether to initiate an enforcement action. As part of this process,

Bessembinder analyzed CME trade data and communicated about his analysis with CFTC

attorneys, economists, and investigators. This work was part of the process by which Division

staff ultimately made a determination whether to recommend an enforcement action to the

Commission. These are exactly the sorts of documents the deliberative process privilege is

designed to protect. It is critical that Division staff be able to communicate fully and frankly,

including with outside consultants, to ensure that the Commission makes informed decisions

about whether to bring a given enforcement action, and that every such action is based on legal

and economic analysis that has been thoroughly vetted at the staff level. Accordingly, these

documents should be protected from disclosure, and the Subpoena quashed.



                                                 11
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 19 of 57 PageID #:769




       Although the Commission anticipates that Smith will argue that the deliberative process

privilege has been waived due to the communication between the Division and DOJ regarding

Bessembinder, such a general reference to the engagement of a consultant or to his preliminary

conclusions is insufficient to waive the privilege. In general, courts take an exceedingly narrow

view of waiver of the deliberative process privilege. Unlike other privileges, where voluntary

disclosure of privileged material can waive privilege “not only as to the specific communication”

but also other communications relating to the same subject, In re Sealed Case, 676 F.2d 793, 809

(D.C. Cir. 1982), with respect to the deliberative process privilege “courts have said that release

of a document only waives these privileges for the document or information specifically

released, and not for related materials.” In re Sealed Case, 121 F.3d 729, 741 (D.C. Cir. 1997)

(citations omitted); Marisol A. v. Giuliani, No. 95 CIV. 10533, 1998 WL 132810, at *8

(S.D.N.Y. Mar. 23, 1998) (same); Ivy Sports Med., LLC v. Sebelius, No. 11-CV-1006, 2012 WL

5248176, at *2 (D.D.C. Oct. 24, 2012); Santullo v. City of Woburn, No. 07-11478, 2008 WL

2778819, at *2 (D. Mass. July 14, 2008). This limited approach to waiver is designed “to ensure

that agencies do not forego voluntarily disclosing some privileged material out of the fear that by

doing so they are exposing other, more sensitive documents.” In re Sealed Case, 121 F.3d at 741

(citations omitted).

       In this case, the fact that the Division informed DOJ about Bessembinder’s preliminary

analysis does not waive privilege. At most, privilege over the information actually shared with

DOJ has been waived, and DOJ has already shared the substance of that information with Smith.

Since none of the specific content of the communications and no specific documents relied upon

by Bessembinder were ever shared with or identified to DOJ, there is no waiver of the privilege

with respect to any specific documents or communications. See E.E.O.C. v. Cont’l Airlines, Inc.,



                                                 12
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 20 of 57 PageID #:770




395 F. Supp. 2d 738, 743 (N.D. Ill. 2005) (finding no waiver of the deliberative process privilege

where agency had not identified specific facts or commentary included in the privileged

materials, allowed any private parties to view privileged documents, or selectively disseminated

substantive information from the documents to advance the agency’s case).

       Finally, Smith cannot make a showing of particularized need for the documents sought by

the Subpoena. The deliberative process privilege may be overcome where the party seeking

documents establishes that he has a particularized need for the documents and that this need

outweighs the government’s interest in confidentiality. Sentinel Mgmt., 2010 WL 4977220, at *4

(citing Farley, 11 F.3d at 1389). This determination is to be made flexibly on a case-by-case

basis, and district courts can take into account factors such as the “relevance of the evidence, the

availability of other evidence, the seriousness of the litigation, the role of the government, and

the possibility of future timidity by government employees.” In re Sealed Case, 121 F.3d at 737-

38 (internal quotation marks and citation omitted).

       Relevance alone is insufficient to establish particularized need. Farley, 11 F.3d at 1390.

Indeed, courts rarely find a showing of particularized need, since there is a significant public

interest in allowing agency employees to develop policy recommendations without being

inhibited by the risk that their preliminary thoughts will be publicly disclosed. See Sourgoutsis

v. U.S. Capitol Police, 323 F.R.D. 100, 111 (D.D.C. 2017) (finding the plaintiff’s desire to obtain

drafts of disciplinary policies does not outweigh the public interest in protecting them from

disclosure).

       Smith cannot articulate a particularized need that outweighs the CFTC’s interest in

keeping the documents confidential. As part of the investigative team, Bessembinder’s analysis

is inextricably linked with the analysis of the CFTC’s own economists, investigators, and



                                                 13
    Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 21 of 57 PageID #:771




attorneys. All of Bessembinder’s work was done at the direction of CFTC attorneys, and the

discussions of such work necessarily reveal the thoughts and opinions of CFTC attorneys,

economists, and investigators. As such, the CFTC has a strong interest in maintaining the

confidentiality of its investigation. Disclosure of these privileged materials would almost

certainly chill candid discussions in future investigations and deliberations, and harm the

Commission’s deliberations and decision-making going forward.

        On the other hand, Smith cannot demonstrate any need for the documents sought, much

less particularized need that outweighs the CFTC’s interest in confidentiality. As discussed

above, the documents sought are inadmissible at trial. Smith is capable of hiring his own experts

to analyze the trade data in an attempt to persuade the jury that Smith’s trading was incompatible

with spoofing. In short, there is no reason Smith should have access to these documents, other

than his desire to fish for information. Such a generalized need for documents is insufficient to

overcome the deliberative process privilege. See Farley, 11 F.3d at 1390.4

        B.      The Attorney Work Product Doctrine Protects the Documents at Issue.

        The responsive materials are also protected work product, because they were generated

by or at the direction of Division attorneys in anticipation of potential litigation against Smith or

others.5




4
  To the extent that Smith intends to assert that a CFTC consultant’s preliminary analysis of evidence
already in the possession of the defense might, under Brady v. Maryland, 373 U.S. 83 (1963), be
discoverable from DOJ, but see Beaman v. Souk, 7 F. Supp. 3d 805, 822-23 (C.D. Ill. 2014), aff’d sub
nom. Beaman v. Freesmeyer, 776 F.3d 500 (7th Cir. 2015) (so long as the facts underlying an
investigator’s opinions are disclosed, documents reflecting the investigator’s opinions are not Brady
material), a Rule 17(c) subpoena would not be the proper way to obtain them. See, e.g., Cuthbertson, 651
F.2d at 195 (even “naked exculpatory material held by third parties that does not rise to the dignity of
admissible evidence simply is not within [Rule 17]”).
5
 While CME trade data is not itself privileged, Smith seeks documents that would reveal the specific
subset of data selected by Division staff for Bessembinder to analyze, and such documents are privileged.
                                                   14
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 22 of 57 PageID #:772




       “The work product doctrine encompasses documents prepared in anticipation of litigation

by a party’s representative or agent.” Hollinger Int’l Inc. v. Hollinger Inc., 230 F.R.D. 508, 511

(N.D. Ill. 2005) (citations omitted). The work product doctrine is “is distinct from and broader

than the attorney-client privilege.” Appleton Papers, Inc. v. E.P.A., 702 F.3d 1018, 1024 (7th Cir.

2012) (citing United States v. Nobles, 422 U.S. 225, 238 n.11 (1975)). Although only

communications are protected by the attorney-client privilege, the work product doctrine may

encompass any document prepared in anticipation of litigation by or for the attorney. In re

Special Sept. 1978 Grand Jury (II), 640 F.2d 49, 62 (7th Cir. 1980). Work product immunity

furthers the client’s interest in obtaining complete legal advice and creates “a protected area in

which the lawyer can prepare his case free from adversarial scrutiny.” Id. “It advances the

adversarial system by providing incentives to collect information and thoroughly prepare for

litigation.” Appleton Papers, Inc., 702 F.3d at 1024-25.

        “The test for determining whether materials were prepared in anticipation of litigation is

‘whether, in light of the nature of the document and the factual situation in the particular case,

the document can fairly be said to have been prepared or obtained because of the prospect of

litigation.’” Hollinger Int’l, 230 F.R.D. at 512 (quoting Binks Mfg. Co. v. Nat’l Presto Indus.,

Inc., 709 F.2d 1109, 1119 (7th Cir. 1983)).

       The doctrine plainly protects documents prepared by or on behalf of Commission

attorneys considering whether to recommend an enforcement action. See SafeCard Servs., Inc. v.

S.E.C., 926 F.2d 1197, 1203 (D.C. Cir. 1991) (holding that “where an attorney prepares a

document in the course of an active investigation focusing upon specific events and a specific

possible violation by a specific party, it has litigation sufficiently ‘in mind’ for that document to

qualify as attorney work product”); Sentinel Mgmt., 2010 WL 4977220, at *7 (“Materials



                                                  15
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 23 of 57 PageID #:773




prepared by SEC attorneys in anticipation of litigation that disclose what they learned during

witness interviews undoubtedly constitute attorney work product.”); S.E.C. v. Somers, No. 3:11-

CV-00165, 2013 WL 4045295, at *2 (W.D. Ky. Aug. 8, 2013) (holding that the work product

doctrine protects “internal reports, emails and memoranda concerning” an SEC action

memorandum, as those documents “memorialize[] the opinions of SEC attorneys about the

viability and wisdom of bringing a particular action against a defendant”); Canadian Javelin,

Ltd. v. S.E.C., 501 F. Supp. 898, 902 (D.D.C. 1980) (holding that “since investigations by the

SEC are conducted with an eye towards litigation,” the work product doctrine protects

“documents prepared by SEC attorneys or professionals working under attorney supervision”).

       In this case, the documents sought by Smith fall squarely within the attorney work

product doctrine: they are created by Division attorneys, and by Division staff and a consultant

working at the direction of Division attorneys, in connection with a specific investigation in

anticipation of litigation, that memorialize the mental impressions and opinions of Division staff

and their agents.

       Nor has the limited communication to DOJ referring to Bessembinder’s preliminary

analysis waived work product protection. Unlike attorney-client communications, “disclosure of

some documents does not necessarily destroy work-product protection for other documents of

the same character.” Appleton Papers, Inc., 702 F.3d at 1025 (citations omitted). Merely

summarizing findings or conclusions, without quoting, paraphrasing, or referencing the specific

documents at issue does not result in waiver. In re Vecco Instruments, Inc. Sec. Litig., No. 05

MD 1695, 2007 WL 210110, at *2 (S.D.N.Y. Jan. 25, 2007); Chase v. City of Portsmouth, 236

F.R.D. 263, 269 (E.D. Va. 2006) (citations omitted) (limited disclosure to third parties is

insufficient to waive the work product privilege; in order to waive work product protection, the



                                                16
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 24 of 57 PageID #:774




party must produce complete documents); Furminator, Inc. v. Kim Laube & Co., No.

4:08CV00367, 2009 WL 5176562, at *2 (E.D. Mo. Dec. 21, 2009) (disclosing a general

summary of a legal opinion does not amount to waiver of privilege); In re Dayco Corp.

Derivative Sec. Litig., 99 F.R.D. 616, 619 (S.D. Ohio 1983) (finding no waiver of work product

protection where a press release disclosed findings of an internal investigation but did not

summarize evidence). In this case, because none of the contents of the documents was ever

disclosed, work product privilege has not been waived.

       Furthermore, while attorney work product protection may be waived “when an attorney

attempts to use the work product as testimony or evidence, or reveals it to an adversary to gain

an advantage in litigation,” Reyes, 239 F.R.D. at 598 (citing Nobles, 422 U.S. at 239-40), in this

case, the documents were never used as testimony or evidence, nor did the CFTC ever reveal the

contents of such documents to gain an advantage in litigation. See also Duplan Corp. v. Deering

Milliken, Inc., 540 F.2d 1215, 1223 (4th Cir. 1976) (partial disclosure does not waive work

product privilege where there is no testimonial use of such work product). Indeed, the contents

of the specific documents and communications were never revealed at all.

       In addition, Smith cannot demonstrate substantial need for the documents to overcome

the work product doctrine. It is hornbook law that the attempt to obtain attorney work product

without a showing of necessity or justification is not permitted. Hickman v. Taylor, 329 U.S.

495, 509-10 (1947). “When considering whether to override work product protection, a court

must determine whether the party requesting disclosure ‘shows that it has substantial need for

the materials to prepare its case and cannot, without undue hardship, obtain their substantial

equivalent by other means.” Klein, 2017 WL 782326, at *4 (quoting Fed. R. Civ. P.

26(b)(3)(A)(ii)).



                                                17
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 25 of 57 PageID #:775




       In this case, since Smith already possesses all of the CME trade data that Bessembinder

and the rest of the CFTC investigation team had, there is no reason Smith’s own attorneys, or an

outside expert hired by them, could not analyze the same data. See supra p. 17. Accordingly,

Smith cannot demonstrate that he is unable to prepare his case without the subpoenaed

documents without undue hardship, and therefore cannot demonstrate substantial need to

overcome the work product protection. See Klein, 2017 WL 782326, at *5 (finding that the

criminal defendant did not demonstrate substantial need based on his belief that an SEC memo in

the parallel civil case contained “exculpatory factual findings,” in light of the disclosures already

made to defendants, and in light of the fact that in camera review of the documents did not reveal

“probative, exculpatory factual findings” the defendant was hoping to unearth).

       C.      The Attorney-Client Privilege Protects the Documents at Issue.

       Most of the documents responsive to the Subpoena are also protected by the attorney-

client privilege, which provides that

               (1) where legal advice of any kind is sought (2) from a professional
               legal adviser in his capacity as such, (3) the communications
               relating to that purpose, (4) made in confidence (5) by the client,
               (6) are at his instance permanently protected (7) from disclosure by
               himself or by the legal adviser, (8) except the protection be
               waived.

United States v. White, 950 F.2d 426, 430 (7th Cir. 1991) (citation omitted). In general,

communications among a consultant, attorney, and client are protected from disclosure by

attorney-client privilege, so long as the consultant’s communications made are on behalf of the

client to obtain legal advice. See, e.g., United States v. Kovel, 296 F.2d 918, 921-22 (2d Cir.

1961); Golden Trade, S.r.L. v. Lee Apparel Co., 143 F.R.D. 514, 518 (S.D.N.Y. 1992) (“[I]f the

purpose of the communication is to facilitate the rendering of legal services by the attorney, the

privilege may also cover communications between . . . the attorney and his representative.”).


                                                 18
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 26 of 57 PageID #:776




Where counsel engage an outside consultant for, e.g., his or her “expertise in sophisticated

quantitative analyses,” for counsel’s use in providing legal advice to a client, communications

between counsel and that consultant are protected by the attorney-client privilege. Lawrence E.

Jaffe Pension Plan v. Household Intern., Inc., 244 F.R.D. 412, 417, 420 (N.D. Ill. 2006). Unlike

the deliberative process privilege and work product doctrine, the attorney-client privilege is

absolute, and cannot be overcome by a showing of need or balancing of interests. United States

v. Bd. of Educ. of City of Chicago, 610 F. Supp. 695, 701 (N.D. Ill. 1985). Because the

communications of Division staff internally and with Bessembinder concerning his analysis were

made in confidence for the purpose of assisting Division attorneys in providing legal advice to

the Commission, such communications are protected by attorney-client privilege.

       Finally, there has been no waiver of the attorney-client privilege. “[A] client does not

waive his attorney-client privilege merely by disclosing a subject which he has discussed with

his attorney.” Lawrence E. Jaffe Pension Plan, 244 F.R.D. at 425 (citing United States v.

O’Malley, 786 F.2d 786, 794 (7th Cir.1986); Avery Dennison Corp. v. UCB Films PLC, No. 95

C 6351, 1998 WL 703647, at *4 (N.D. Ill. Sept. 30, 1998)). Merely referring to the nature of a

communication does not amount to a revelation of the protected information that waives the

attorney-client privilege or the work product doctrine. Chicago Bd. Options Exch., Inc. v. Int’l

Sec. Exch., LLC, No. 07 C 623, 2008 WL 3285751, at *4 (N.D. Ill. Aug. 8, 2008) (citations

omitted); Murata Mfg. Co. v. Bel Fuse, Inc., No. 03 C 2934, 2007 WL 781252, at *3 (N.D. Ill.

Mar.8, 2007); Zenith Elecs. Corp. v. Exzec, Inc., No. 96 C 5041, 1997 WL 798908, at *4 (N.D.

Ill. Dec. 24, 1997) (“[M]ere restatements of an attorney’s conclusion do not disclose a particular

attorney-client communication and therefore does not constitute a waiver.”); Rates Tech., Inc. v.

Elcotel, Inc., 118 F.R.D. 133, 134-35 (M.D. Fla. 1987) (same).



                                                19
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 27 of 57 PageID #:777




       When a disclosure of privileged information does not “reveal the substance of the

underlying communications or analysis,” the privilege remains intact. Robinson v. Morgan

Stanley, No. 06 C 5158, 2010 WL 1050288, at *4 (N.D. Ill. Mar. 17, 2010) (holding there was no

waiver because defendant merely disclosed “the fact that defendants conducted an investigation

overseen by counsel and that counsel’s conclusion was that [plaintiff’s] charges were

unfounded”); see also In re Brand Name Prescription Drugs Antitrust Litig., No. 94 C 897,

MDL 997, 1995 WL 531805, at *2 (N.D. Ill. Aug. 18, 1995) (no waiver where disclosures

revealed “nothing substantive about attorney-client communications, other than counsel’s

direction to comply with the law generally”).

       Here, the Commission’s disclosure to the DOJ about Bessembinder was nonspecific and

did not reveal the substance of any underlying communications or analysis. Accordingly, the

Commission did not waive the attorney-client privilege.

                                        CONCLUSION

       All of the documents sought by Smith’s subpoena are protected from disclosure by the

deliberative process privilege and attorney work product doctrine, and most of the documents are

also protected by attorney-client privilege. Each of these privileges operates as an independent

reason for quashing the Subpoena. Moreover, even if each of the privileges is found to be

inapplicable or waived, Smith cannot demonstrate the relevance or admissibility of the

responsive documents, both of which are necessary in connection with a Rule 17(c) subpoena.

Therefore, the Subpoena should be quashed in its entirety.




                                                20
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 28 of 57 PageID #:778




Dated: January 31, 2020               Respectfully submitted,

                                      /s/ Melissa Chiang
                                      Melissa Chiang
                                      Assistant General Counsel

                                      Robert Schwartz
                                      Deputy General Counsel

                                      Daniel Davis
                                      General Counsel

                                      Office of General Counsel
                                      Commodity Futures Trading Commission
                                      1155 21st Street, N.W., Washington, D.C. 20581
                                      mchiang@cftc.gov; ogcecf@cftc.gov
                                      (202) 418-5578




                                        21
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 29 of 57 PageID #:779




                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2020, I caused a copy of the foregoing MOTION TO

QUASH to be filed with the Clerk of the Court through the CM/ECF system, which will provide

notice of the filing to all counsel of record.

                                                 /s/ Melissa Chiang
                                                 Melissa Chiang
                                                 Counsel for Commodity Futures Trading
                                                 Commission
Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 30 of 57 PageID #:780




                                                                           A-1
Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 31 of 57 PageID #:781




                                                                           A-2
Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 32 of 57 PageID #:782




                                                                           A-3
Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 33 of 57 PageID #:783




                                                                           A-4
Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 34 of 57 PageID #:784




                                                                           A-5
                                   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 35 of 57 PageID #:785
                                                                                  PRIVILEGE LOG

Doc
           Type       Parent     Date      From/Author              To                  CC                    Subject Matter                            Basis for Privilege
No
                                                                                             Confidential communication concerning review of
                                                             Bessembinder,
                                                                                             trading activity in connection with CFTC Division of   Attorney Client Privilege;
                                            †Marquardt,     Hendrik; *Ringer,
 1         Email                1/25/18                                                          Enforcement (“DOE”) investigation for the         Work Product Protection;
                                              Patrick       Steven; *Picard,
                                                                                               purpose of DOE providing advice of counsel to      Deliberative Process Privilege
                                                           Mark; †Kokal, Trevor
                                                                                                                  Commission
                                                           †Marquardt, Patrick;              Confidential communication concerning review of
                                                                                                                                                    Attorney Client Privilege;
                                           Bessembinder,    *Ringer, Steven;                    trading activity in connection with CFTC DOE
 2         Email                1/19/18                                                                                                            Work Product Protection;
                                              Hendrik        *Picard, Mark;                    investigation for the purpose of DOE providing
                                                                                                                                                  Deliberative Process Privilege
                                                             †Kokal, Trevor                           advice of counsel to Commission
                                                                                             Trade analysis prepared at the direction of counsel     Attorney Client Privilege;
           Email
 3                         2                                                                   in connection with CFTC DOE review of trading        Work Product Protection;
        attachment
                                                                                                                  activity                         Deliberative Process Privilege
                                                                                             Trade analysis prepared at the direction of counsel     Attorney Client Privilege;
           Email
 4                         2                                                                   in connection with CFTC DOE review of trading        Work Product Protection;
        attachment
                                                                                                                  activity                         Deliberative Process Privilege
                                                                                             Trade analysis prepared at the direction of counsel     Attorney Client Privilege;
           Email
 5                         2                                                                   in connection with CFTC DOE review of trading        Work Product Protection;
        attachment
                                                                                                                  activity                         Deliberative Process Privilege
                                                                                             Trade analysis prepared at the direction of counsel     Attorney Client Privilege;
           Email
 6                         2                                                                   in connection with CFTC DOE review of trading        Work Product Protection;
        attachment
                                                                                                                  activity                         Deliberative Process Privilege
                                                                                             Trade analysis prepared at the direction of counsel     Attorney Client Privilege;
           Email
 7                         2                                                                   in connection with CFTC DOE review of trading        Work Product Protection;
        attachment
                                                                                                                  activity                         Deliberative Process Privilege
                                                             Bessembinder,                    Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                            †Marquardt,     Hendrik; *Ringer,                   trading activity in connection with CFTC DOE
 8         Email                1/19/18                                                                                                             Work Product Protection;
                                              Patrick       Steven; *Picard,                   investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                           Mark; †Kokal, Trevor                       advice of counsel to Commission
                                                             *Ringer, Steven;                 Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                           Bessembinder,      *Picard, Mark;                    trading activity in connection with CFTC DOE
 9         Email                1/18/18                                                                                                             Work Product Protection;
                                              Hendrik         †Kokal, Trevor;                  investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                            †Marquardt, Patrick                       advice of counsel to Commission



     All individuals identified in log are CFTC employees except Hendrik Bessembinder

     † CFTC DOE economist/investigator

     * CFTC DOE attorney                                                                                                                                            B-1
                              Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 36 of 57 PageID #:786
                                                                               PRIVILEGE LOG

Doc
        Type       Parent    Date     From/Author               To                  CC                          Subject Matter                           Basis for Privilege
No
                                                                                               Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
10                   9                                                                           in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                    activity                       Deliberative Process Privilege
                                                                                               Confidential communication concerning review of
                                                                                  †Kokal,                                                            Attorney Client Privilege;
                                      Bessembinder,                                              trading activity in connection with CFTC DOE
11      Email               1/18/18                       *Ringer, Steven         Trevor;                                                           Work Product Protection;
                                         Hendrik                                                investigation for the purpose of DOE providing
                                                                               *Picard, Mark                                                       Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                               Confidential communication concerning review of
                                                                                  †Kokal,                                                            Attorney Client Privilege;
                                                          Bessembinder,                          trading activity in connection with CFTC DOE
12      Email               1/18/18   *Ringer, Steven                             Trevor;                                                           Work Product Protection;
                                                             Hendrik                            investigation for the purpose of DOE providing
                                                                               *Picard, Mark                                                       Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                         *Ringer, Steven;                      Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                       †Marquardt,        Bessembinder,                          trading activity in connection with CFTC DOE
13      Email               1/18/18                                                                                                                 Work Product Protection;
                                         Patrick         Hendrik; *Picard,                      investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                        Mark; †Kokal, Trevor                           advice of counsel to Commission
                                                                                               Confidential communication concerning review of
                                                          *Picard, Mark;                                                                             Attorney Client Privilege;
                                      Bessembinder,                                              trading activity in connection with CFTC DOE
14      Email               1/18/18                       †Kokal, Trevor;                                                                           Work Product Protection;
                                         Hendrik                                                investigation for the purpose of DOE providing
                                                          *Ringer, Steven                                                                          Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                               Confidential communication concerning review of
                                                        Bessembinder,                                                                                Attorney Client Privilege;
                                                                                                 trading activity in connection with CFTC DOE
15      Email               1/18/18   *Ringer, Steven Hendrik; *Picard,                                                                             Work Product Protection;
                                                                                                investigation for the purpose of DOE providing
                                                      Mark; †Kokal, Trevor                                                                         Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                 *Picard,
                                                                                             Confidential communication concerning review of
                                                                               Mark; †Kokal,                                                         Attorney Client Privilege;
                                      Bessembinder,                                            trading activity in connection with CFTC DOE
16      Email               1/4/18                        *Ringer, Steven        Trevor;                                                            Work Product Protection;
                                         Hendrik                                              investigation for the purpose of DOE providing
                                                                               †Marquardt,                                                         Deliberative Process Privilege
                                                                                                     advice of counsel to Commission
                                                                                 Patrick
                                                                                               Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
17                  16                                                                           in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                    activity                       Deliberative Process Privilege
                                                        †Marquardt, Patrick;                   Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                      Bessembinder,      *Ringer, Steven;                        trading activity in connection with CFTC DOE
18      Email               1/26/18                                                                                                                 Work Product Protection;
                                         Hendrik          *Picard, Mark;                        investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                          †Kokal, Trevor                               advice of counsel to Commission

                                                                                                                                                                    B-2
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 37 of 57 PageID #:787
                                                                             PRIVILEGE LOG

Doc
        Type       Parent    Date     From/Author             To                  CC                          Subject Matter                           Basis for Privilege
No
                                                                                             Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
19                  18                                                                         in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                  activity                       Deliberative Process Privilege
                                                                                             Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                      Bessembinder,                                            trading activity in connection with CFTC DOE
20      Email               1/26/18                 †Marquardt, Patrick                                                                           Work Product Protection;
                                         Hendrik                                              investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                                                                     advice of counsel to Commission
                                                      †Marquardt, Patrick;                   Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                      Bessembinder,    *Ringer, Steven;                        trading activity in connection with CFTC DOE
21      Email               1/25/18                                                                                                               Work Product Protection;
                                         Hendrik        *Picard, Mark;                        investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                        †Kokal, Trevor                               advice of counsel to Commission
                                                                                             Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                      Bessembinder,                                            trading activity in connection with CFTC DOE
22      Email               1/25/18                 †Marquardt, Patrick                                                                           Work Product Protection;
                                         Hendrik                                              investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                                                                     advice of counsel to Commission
                                                      †Marquardt, Patrick;                   Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                      Bessembinder,    *Ringer, Steven;                        trading activity in connection with CFTC DOE
23      Email               1/25/18                                                                                                               Work Product Protection;
                                         Hendrik        *Picard, Mark;                        investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                        †Kokal, Trevor                               advice of counsel to Commission
                                                                                             Confidential communication concerning review of
                                                                                *Ringer,                                                           Attorney Client Privilege;
                                     Bessembinder,                                             trading activity in connection with CFTC DOE
24      Email               12/14/17               †Marquardt, Patrick          Steven;                                                           Work Product Protection;
                                        Hendrik                                               investigation for the purpose of DOE providing
                                                                             *Picard, Mark                                                       Deliberative Process Privilege
                                                                                                     advice of counsel to Commission
                                                                                             Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
25                  24                                                                         in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                  activity                       Deliberative Process Privilege
                                                        Bessembinder,                        Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                       †Marquardt,     Hendrik; *Ringer,                       trading activity in connection with CFTC DOE
26      Email               1/26/18                                                                                                               Work Product Protection;
                                         Patrick       Steven; *Picard,                       investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                      Mark; †Kokal, Trevor                           advice of counsel to Commission
                                                        Bessembinder,                        Confidential communication concerning review of
                                                                                                                                                   Attorney Client Privilege;
                                       †Marquardt,     Hendrik; *Ringer,                       trading activity in connection with CFTC DOE
27      Email               1/25/18                                                                                                               Work Product Protection;
                                         Patrick       Steven; *Picard,                       investigation for the purpose of DOE providing
                                                                                                                                                 Deliberative Process Privilege
                                                      Mark; †Kokal, Trevor                           advice of counsel to Commission


                                                                                                                                                                  B-3
                                Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 38 of 57 PageID #:788
                                                                               PRIVILEGE LOG

Doc
         Type       Parent    Date      From/Author             To                  CC                          Subject Matter                           Basis for Privilege
No
                                                          Bessembinder,                        Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                         †Marquardt,     Hendrik; *Ringer,                       trading activity in connection with CFTC DOE
28       Email               1/26/18                                                                                                                Work Product Protection;
                                           Patrick       Steven; *Picard,                       investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                        Mark; †Kokal, Trevor                           advice of counsel to Commission
                                                                                               Confidential communication concerning review of
                                                                                  *Ringer,                                                           Attorney Client Privilege;
                                      Bessembinder,                                              trading activity in connection with CFTC DOE
29       Email               10/16/17                       Ho, William           Steven;                                                           Work Product Protection;
                                         Hendrik                                                investigation for the purpose of DOE providing
                                                                               *Picard, Mark                                                       Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                               Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                        Bessembinder,     *Ringer, Steven;                       trading activity in connection with CFTC DOE
30       Email               1/17/18                                                                                                                Work Product Protection;
                                           Hendrik         *Picard, Mark                        investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                             Confidential communication providing FTP access
                                                                                  *Ringer,   to trade data selected at the direction of counsel      Attorney Client Privilege;
                                                          Bessembinder,
31       Email               10/16/17    Ho, William                              Steven;     in connection with CFTC DOE review of trading         Work Product Protection;
                                                             Hendrik
                                                                               *Picard, Mark activity concerning review of trading activity in     Deliberative Process Privilege
                                                                                                  connection with CFTC DOE investigation
                                                                                               Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                                                                                 trading activity in connection with CFTC DOE
32       Email               12/15/17    Ho, William      *Ringer, Steven                                                                           Work Product Protection;
                                                                                                investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                                                               Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
33                   32                                                                          in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                    activity                       Deliberative Process Privilege
                                                                                               Confidential communication concerning review of
                                                                                                                                                     Attorney Client Privilege;
                                                                                                 trading activity in connection with CFTC DOE
34       Email               10/16/17    Ho, William      *Ringer, Steven                                                                           Work Product Protection;
                                                                                                investigation for the purpose of DOE providing
                                                                                                                                                   Deliberative Process Privilege
                                                                                                       advice of counsel to Commission
                                                          Bessembinder,
                                                                                               Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
      Edoc shared                        †Marquardt,     Hendrik; *Ringer,
35                           10/5/17                                                             in connection with CFTC DOE review of trading      Work Product Protection;
       via Webex                           Patrick       Steven; *Picard,
                                                                                                                    activity                       Deliberative Process Privilege
                                                        Mark; †Kokal, Trevor




                                                                                                                                                                    B-4
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 39 of 57 PageID #:789
                                                                              PRIVILEGE LOG

Doc
        Type       Parent    Date      From/Author             To                 CC                       Subject Matter                            Basis for Privilege
No
                                                                                          Confidential communication concerning review of
                                                         *Ringer, Steven;                                                                         Attorney Client Privilege;
                                       †Marquardt,                                          trading activity in connection with CFTC DOE
36      Email               1/17/18                       *Picard, Mark;                                                                         Work Product Protection;
                                         Patrick                                           investigation for the purpose of DOE providing
                                                          †Kokal, Trevor                                                                        Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
37      Email               7/13/17    *Picard, Mark     *Ringer, Steven                                                                         Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                              Draft statement of work for prospective             Attorney Client Privilege;
         Email
38                  37                                                                    consultant in connection with CFTC DOE review of       Work Product Protection;
      attachment
                                                                                                           trading activity                     Deliberative Process Privilege
                                                                                          Log prepared at the direction of counsel reflecting
                                                                                                                                                 Work Product Protection;
39      Edoc                6/21/19                                                        trade data provided to consultant in connection
                                                                                                                                                Deliberative Process Privilege
                                                                                               with CFTC DOE review of trading activity
                                                                                         Trade analysis prepared at the direction of counsel
                                       †Marquardt,                                                                                            Work Product Protection;
40      Edoc                3/14/18                                                        in connection with CFTC DOE review of trading
                                         Patrick                                                                                             Deliberative Process Privilege
                                                                                                              activity
                                                                                          Trade data selected at the direction of counsel in
                                                                                                                                                 Work Product Protection;
41      Edoc                10/16/17                                                        connection with CFTC DOE review of trading
                                                                                                                                                Deliberative Process Privilege
                                                                                                               activity
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                   †Marquardt, Patrick;                     trading activity in connection with CFTC DOE
42       IM                 1/25/19 †Grimm, Jordon                                                                                               Work Product Protection;
                                                     †Grimm, Jordon                        investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,     †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
43       IM                 12/8/17                                                                                                              Work Product Protection;
                                         Patrick         †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,     †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
44       IM                  2/1/18                                                                                                              Work Product Protection;
                                         Patrick         †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission




                                                                                                                                                                 B-5
                              Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 40 of 57 PageID #:790
                                                                             PRIVILEGE LOG

Doc
        Type       Parent    Date     From/Author             To                 CC                       Subject Matter                           Basis for Privilege
No
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,    †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
45       IM                 1/19/18                                                                                                           Work Product Protection;
                                         Patrick        †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,    †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
46       IM                 3/26/18                                                                                                           Work Product Protection;
                                         Patrick        †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,    †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
47       IM                 1/24/19                                                                                                           Work Product Protection;
                                         Patrick        †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,    †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
48       IM                 1/24/19                                                                                                           Work Product Protection;
                                         Patrick        †Grimm, Jordon                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                   †Marquardt, Patrick;                    trading activity in connection with CFTC DOE
49       IM                 1/25/19 †Grimm, Jordon                                                                                            Work Product Protection;
                                                     †Grimm, Jordon                       investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,                             †Grimm,     trading activity in connection with CFTC DOE
50      Email               3/28/19                    *Newman, David                                                                         Work Product Protection;
                                         Patrick                                Jordon    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                       †Grimm, Jordon;                     trading activity in connection with CFTC DOE
51      Email               5/29/18   *Ringer, Steven                                                                                         Work Product Protection;
                                                      †Marquardt, Patrick                 investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
52                  51                                                                     in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                              activity                       Deliberative Process Privilege
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       †Marquardt,                             †Grimm,     trading activity in connection with CFTC DOE
53      Email               3/28/19                    *Newman, David                                                                         Work Product Protection;
                                         Patrick                                Jordon    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                                                                                              B-6
                         Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 41 of 57 PageID #:791
                                                                      PRIVILEGE LOG

Doc
      Type    Parent    Date     From/Author             To                CC                         Subject Matter                         Basis for Privilege
No
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                        †Grimm,         trading activity in connection with CFTC DOE
54    Email            3/28/19 *Newman, David †Marquardt, Patrick                                                                        Work Product Protection;
                                                                         Jordon        investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                        *Picard,                                                          Attorney Client Privilege;
                                                   *Newman, David;                      trading activity in connection with CFTC DOE
55    Email            1/24/19   *Ringer, Steven                      Mark; †Kokal,                                                      Work Product Protection;
                                                    *Sultan, Manal                     investigation for the purpose of DOE providing
                                                                         Trevor                                                         Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                        *Picard,                                                          Attorney Client Privilege;
                                                   *Ringer, Steven;                     trading activity in connection with CFTC DOE
56    Email            1/24/19 *Newman, David                         Mark; †Kokal,                                                      Work Product Protection;
                                                    *Sultan, Manal                     investigation for the purpose of DOE providing
                                                                         Trevor                                                         Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                        *Picard,                                                          Attorney Client Privilege;
                                                   *Newman, David;                      trading activity in connection with CFTC DOE
57    Email            1/24/19   *Ringer, Steven                      Mark; †Kokal,                                                      Work Product Protection;
                                                    *Sultan, Manal                     investigation for the purpose of DOE providing
                                                                         Trevor                                                         Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                                        trading activity in connection with CFTC DOE
58    Email            5/29/18   *Ringer, Steven    †Kokal, Trevor                                                                       Work Product Protection;
                                                                                       investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                                        trading activity in connection with CFTC DOE
59    Email            5/22/18   *Ringer, Steven    †Kokal, Trevor                                                                       Work Product Protection;
                                                                                       investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                     Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                                       trading activity in connection with CFTC DOE
60    Email            3/28/18   *Picard, Mark     *Ringer, Steven    †Kokal, Trevor                                                     Work Product Protection;
                                                                                      investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                             advice of counsel to Commission
                                                                                     Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                                       trading activity in connection with CFTC DOE
61    Email            3/28/18   *Ringer, Steven    *Picard, Mark     †Kokal, Trevor                                                     Work Product Protection;
                                                                                      investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                             advice of counsel to Commission




                                                                                                                                                         B-7
                              Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 42 of 57 PageID #:792
                                                                           PRIVILEGE LOG

Doc
        Type       Parent    Date     From/Author             To               CC                      Subject Matter                           Basis for Privilege
No
                                                                                       Confidential communication concerning review of
                                                                                                                                            Attorney Client Privilege;
                                                        *Picard, Mark;                   trading activity in connection with CFTC DOE
62      Email               3/15/18   *Ringer, Steven                                                                                      Work Product Protection;
                                                        †Kokal, Trevor                  investigation for the purpose of DOE providing
                                                                                                                                          Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                         *Picard, Mark;                                                                     Attorney Client Privilege;
                                       †Marquardt,                                       trading activity in connection with CFTC DOE
63      Email               10/4/17                     *Ringer, Steven;                                                                   Work Product Protection;
                                         Patrick                                        investigation for the purpose of DOE providing
                                                         †Kokal, Trevor                                                                   Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                      Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
64                  63                                                                  in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                           activity                       Deliberative Process Privilege
                                                                                       Confidential communication concerning review of
                                                           *Ringer,                                                                         Attorney Client Privilege;
                                                                                         trading activity in connection with CFTC DOE
65      Email               3/15/18   *Picard, Mark     Steven;†Kokal,                                                                     Work Product Protection;
                                                                                        investigation for the purpose of DOE providing
                                                            Trevor                                                                        Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                           Draft document prepared by counsel in          Attorney Client Privilege;
         Email
66                  65                                                                connection with CFTC DOE investigation, unrelated  Work Product Protection;
      attachment
                                                                                                 to review of trading activity          Deliberative Process Privilege
                                                                                           Draft document prepared by counsel in          Attorney Client Privilege;
         Email
67                  65                                                                connection with CFTC DOE investigation, unrelated  Work Product Protection;
      attachment
                                                                                                 to review of trading activity          Deliberative Process Privilege
                                                                                       Confidential communication concerning review of
                                                                                                                                            Attorney Client Privilege;
                                                        *Picard, Mark;                   trading activity in connection with CFTC DOE
68      Email               3/15/18   *Ringer, Steven                                                                                      Work Product Protection;
                                                        †Kokal, Trevor                  investigation for the purpose of DOE providing
                                                                                                                                          Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                            Attorney Client Privilege;
                                                        *Picard, Mark;                   trading activity in connection with CFTC DOE
69      Email               2/1/18    *Ringer, Steven                                                                                      Work Product Protection;
                                                        †Kokal, Trevor                  investigation for the purpose of DOE providing
                                                                                                                                          Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                            Attorney Client Privilege;
                                                        *Picard, Mark;                   trading activity in connection with CFTC DOE
70      Email               1/31/18   *Ringer, Steven                                                                                      Work Product Protection;
                                                        †Kokal, Trevor                  investigation for the purpose of DOE providing
                                                                                                                                          Deliberative Process Privilege
                                                                                               advice of counsel to Commission



                                                                                                                                                           B-8
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 43 of 57 PageID #:793
                                                                             PRIVILEGE LOG

Doc
        Type       Parent     Date    From/Author              To                CC                        Subject Matter                         Basis for Privilege
No
                                                                                          Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                        *Ringer, Steven;                    trading activity in connection with CFTC DOE
71      Email               1/31/18   *Picard, Mark                                                                                           Work Product Protection;
                                                         †Kokal, Trevor                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                        *Ringer, Steven;                    trading activity in connection with CFTC DOE
72      Email                2/1/18   *Picard, Mark                                                                                           Work Product Protection;
                                                         †Kokal, Trevor                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                        *Ringer, Steven;                    trading activity in connection with CFTC DOE
73      Email               3/15/18   *Picard, Mark                                                                                           Work Product Protection;
                                                         †Kokal, Trevor                    investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                               Draft document prepared by counsel in          Attorney Client Privilege;
         Email
74                  73                                                                    connection with CFTC DOE investigation, unrelated  Work Product Protection;
      attachment
                                                                                                     to review of trading activity          Deliberative Process Privilege
                                                                                               Draft document prepared by counsel in          Attorney Client Privilege;
         Email
75                  73                                                                    connection with CFTC DOE investigation, unrelated  Work Product Protection;
      attachment
                                                                                                     to review of trading activity          Deliberative Process Privilege
                                                                                          Confidential communication concerning review of
                                                      †Marquardt, Patrick;                                                                     Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
76      Email               1/18/18   *Ringer, Steven   *Picard, Mark;                                                                        Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                        †Kokal, Trevor                                                                       Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                      †Marquardt, Patrick;                                                                     Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
77      Email               1/18/18   *Ringer, Steven   *Picard, Mark;                                                                        Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                        †Kokal, Trevor                                                                       Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                             †Kokal,                                                           Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
78      Email                1/3/18   *Ringer, Steven †Marquardt, Patrick    Trevor;                                                          Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                                          *Picard, Mark                                                      Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                         †Kokal, Trevor;                    trading activity in connection with CFTC DOE
79      Email               10/10/17 *Ringer, Steven                                                                                          Work Product Protection;
                                                         *Picard, Mark                     investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                  advice of counsel to Commission


                                                                                                                                                              B-9
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 44 of 57 PageID #:794
                                                                               PRIVILEGE LOG

Doc
        Type       Parent     Date     From/Author              To                 CC                      Subject Matter                           Basis for Privilege
No
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                           *Picard, Mark;                    trading activity in connection with CFTC DOE
80      Email               10/10/17 *Ringer, Steven                                                                                           Work Product Protection;
                                                           †Kokal, Trevor                   investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                        †Marquardt, Patrick;                                                                    Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
81      Email               10/3/17    *Picard, Mark      *Ringer, Steven;                                                                     Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                           †Kokal, Trevor                                                                     Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                          Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
82                  81                                                                      in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                               activity                       Deliberative Process Privilege
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                          *Ringer, Steven;                   trading activity in connection with CFTC DOE
83      Email               3/15/18    †Kokal, Trevor                                                                                          Work Product Protection;
                                                           *Picard, Mark                    investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                          *Ringer, Steven;                   trading activity in connection with CFTC DOE
84      Email               10/10/17   †Kokal, Trevor                                                                                          Work Product Protection;
                                                           *Picard, Mark                    investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
85      Email               5/22/18    †Kokal, Trevor     *Ringer, Steven                                                                      Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                          Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
86                  85                                                                      in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                               activity                       Deliberative Process Privilege
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                       †Marquardt, Patrick;                  trading activity in connection with CFTC DOE
87      Email                1/9/18    *Ringer, Steven                                                                                         Work Product Protection;
                                                         *Picard, Mark                      investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
88      Email               1/18/18    *Ringer, Steven †Marquardt, Patrick                                                                     Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                   advice of counsel to Commission


                                                                                                                                                             B-10
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 45 of 57 PageID #:795
                                                                           PRIVILEGE LOG

Doc
        Type       Parent     Date     From/Author             To               CC                          Subject Matter                           Basis for Privilege
No
                                                                                           Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                       Ho, William;                          trading activity in connection with CFTC DOE
89      Email               10/16/17 *Ringer, Steven                     *Picard, Mark                                                           Work Product Protection;
                                                     †Marquardt, Patrick                    investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                           †Marquardt,                                                            Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
90      Email               10/16/17 *Ringer, Steven       Ho, William        Patrick;                                                           Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                                           *Picard, Mark                                                        Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                           †Marquardt,                                                            Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
91      Email               10/16/17 *Ringer, Steven       Ho, William        Patrick;                                                           Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                                           *Picard, Mark                                                        Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,                                           trading activity in connection with CFTC DOE
92      Email               10/10/17                      *Picard, Mark                                                                          Work Product Protection;
                                         Patrick                                            investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,                                           trading activity in connection with CFTC DOE
93      Email               10/4/17                       *Picard, Mark                                                                          Work Product Protection;
                                         Patrick                                            investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                           Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                             trading activity in connection with CFTC DOE
94      Email               4/26/18    *Picard, Mark     *Ringer, Steven                                                                         Work Product Protection;
                                                                                            investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                   advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
95      Email               3/28/18    *Picard, Mark     *Ringer, Steven   †Kokal, Trevor                                                        Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,     *Ringer, Steven; Ho,                 trading activity in connection with CFTC DOE
96      Email               10/16/17                                        *Picard, Mark                                                        Work Product Protection;
                                         Patrick             William                       investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                           Trade data selected at the direction of counsel in     Attorney Client Privilege;
         Email
97                  96                                                                       connection with CFTC DOE review of trading          Work Product Protection;
      attachment
                                                                                                                activity                        Deliberative Process Privilege
                                                                                                                                                               B-11
                          Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 46 of 57 PageID #:796
                                                                          PRIVILEGE LOG

Doc
      Type    Parent    Date      From/Author               To                CC                      Subject Matter                         Basis for Privilege
No

                                                                                      Analysis prepared by counsel in connection with    Work Product Protection;
98    Email            5/22/18    *Ringer, Steven     *Ringer, Steven
                                                                                            CFTC DOE review of trading activity         Deliberative Process Privilege

                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                   †Marquardt,                                          trading activity in connection with CFTC DOE
99    Email            1/19/18                        *Ringer, Steven                                                                    Work Product Protection;
                                     Patrick                                           investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                   †Marquardt,                                          trading activity in connection with CFTC DOE
100   Email            1/19/18                        *Ringer, Steven                                                                    Work Product Protection;
                                     Patrick                                           investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                   †Marquardt,                                          trading activity in connection with CFTC DOE
101   Email            1/18/18                        *Ringer, Steven                                                                    Work Product Protection;
                                     Patrick                                           investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                     *Ringer, Steven;                                                                     Attorney Client Privilege;
                                   †Marquardt,                                          trading activity in connection with CFTC DOE
102   Email            1/18/18                        *Picard, Mark;                                                                     Work Product Protection;
                                     Patrick                                           investigation for the purpose of DOE providing
                                                      †Kokal, Trevor                                                                    Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                     *Ringer, Steven;                   trading activity in connection with CFTC DOE
103   Email            1/17/18    *Picard, Mark                                                                                          Work Product Protection;
                                                      †Kokal, Trevor                   investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                   †Marquardt,       *Ringer, Steven;                   trading activity in connection with CFTC DOE
104   Email             1/9/18                                                                                                           Work Product Protection;
                                     Patrick          *Picard, Mark                    investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                     *Ringer, Steven;                   trading activity in connection with CFTC DOE
105   Email             1/9/18    *Picard, Mark                                                                                          Work Product Protection;
                                                    †Marquardt, Patrick                investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                      Confidential communication concerning review of
                                                                                                                                          Attorney Client Privilege;
                                                                                        trading activity in connection with CFTC DOE
106   Email            12/15/17    Ho, William        *Ringer, Steven                                                                    Work Product Protection;
                                                                                       investigation for the purpose of DOE providing
                                                                                                                                        Deliberative Process Privilege
                                                                                              advice of counsel to Commission
                                                                                                                                                       B-12
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 47 of 57 PageID #:797
                                                                           PRIVILEGE LOG

Doc
        Type       Parent     Date     From/Author             To                CC                          Subject Matter                           Basis for Privilege
No
                                                                                            Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
107                 106                                                                       in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                                 activity                       Deliberative Process Privilege
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                              trading activity in connection with CFTC DOE
108     Email               11/29/17 *Ringer, Steven     *Ringer, Steven                                                                         Work Product Protection;
                                                                                             investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                              trading activity in connection with CFTC DOE
109     Email               11/29/17   *Picard, Mark     *Ringer, Steven                                                                         Work Product Protection;
                                                                                             investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                              trading activity in connection with CFTC DOE
110     Email               11/29/17   *Picard, Mark     *Ringer, Steven                                                                         Work Product Protection;
                                                                                             investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                       †Marquardt, Patrick;                   trading activity in connection with CFTC DOE
111     Email               10/16/17    Ho, William                         *Picard, Mark                                                        Work Product Protection;
                                                         *Ringer, Steven                     investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                                                              trading activity in connection with CFTC DOE
112     Email               10/16/17    Ho, William      *Ringer, Steven                                                                         Work Product Protection;
                                                                                             investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                                       †Marquardt, Patrick;                   trading activity in connection with CFTC DOE
113     Email               10/16/17    Ho, William                         *Picard, Mark                                                        Work Product Protection;
                                                         *Ringer, Steven                     investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                                  Attorney Client Privilege;
                                       †Marquardt,        Ho, William;                     trading activity in connection with CFTC DOE
114     Email               10/16/17                                       *Picard, Mark                                                         Work Product Protection;
                                         Patrick         *Ringer, Steven                  investigation for the purpose of DOE providing
                                                                                                                                                Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                            Confidential communication concerning review of
                                                                           †Marquardt,                                                            Attorney Client Privilege;
                                                                                              trading activity in connection with CFTC DOE
115     Email               10/16/17    Ho, William      *Ringer, Steven      Patrick;                                                           Work Product Protection;
                                                                                             investigation for the purpose of DOE providing
                                                                           *Picard, Mark                                                        Deliberative Process Privilege
                                                                                                    advice of counsel to Commission
                                                                                                                                                               B-13
                          Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 48 of 57 PageID #:798
                                                                           PRIVILEGE LOG

Doc
      Type    Parent    Date      From/Author               To                 CC                      Subject Matter                         Basis for Privilege
No
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                    †Marquardt, Patrick;                 trading activity in connection with CFTC DOE
116   Email            10/10/17   *Picard, Mark                                                                                           Work Product Protection;
                                                      *Ringer, Steven                   investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                                                         trading activity in connection with CFTC DOE
117   Email            10/10/17   *Picard, Mark       *Ringer, Steven                                                                     Work Product Protection;
                                                                                        investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                   †Marquardt,        *Ringer, Steven;                   trading activity in connection with CFTC DOE
118   Email            10/10/17                                                                                                           Work Product Protection;
                                     Patrick           *Picard, Mark                    investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                   †Marquardt,                                           trading activity in connection with CFTC DOE
119   Email            10/16/17                       *Ringer, Steven                                                                     Work Product Protection;
                                     Patrick                                            investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                      *Sultan, Manal;                    trading activity in connection with CFTC DOE
120   Email            5/14/18    *Ringer, Steven                                                                                         Work Product Protection;
                                                      *Hickson, Lenel                   investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                      *Sultan, Manal;                    trading activity in connection with CFTC DOE
121   Email            3/27/18    *Ringer, Steven                                                                                         Work Product Protection;
                                                      *Hickson, Lenel                   investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                      *Sultan, Manal;                    trading activity in connection with CFTC DOE
122   Email            3/14/18    *Ringer, Steven                                                                                         Work Product Protection;
                                                      *Hickson, Lenel                   investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission
                                                                                       Confidential communication concerning review of
                                                                                                                                           Attorney Client Privilege;
                                                      *Sultan, Manal;                    trading activity in connection with CFTC DOE
123   Email            5/29/18    *Ringer, Steven                                                                                         Work Product Protection;
                                                      *Hickson, Lenel                   investigation for the purpose of DOE providing
                                                                                                                                         Deliberative Process Privilege
                                                                                               advice of counsel to Commission




                                                                                                                                                        B-14
                               Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 49 of 57 PageID #:799
                                                                            PRIVILEGE LOG

Doc
        Type       Parent     Date     From/Author            To                CC                        Subject Matter                           Basis for Privilege
No
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                                                           trading activity in connection with CFTC DOE
124     Email               1/19/18   *Ringer, Steven †Marquardt, Patrick                                                                     Work Product Protection;
                                                                                          investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                                                           trading activity in connection with CFTC DOE
125     Email               12/14/17 *Ringer, Steven      Ho, William                                                                         Work Product Protection;
                                                                                          investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
126                 125                                                                    in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                              activity                       Deliberative Process Privilege
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                                                           trading activity in connection with CFTC DOE
127     Email               11/29/17 *Ringer, Steven     *Picard, Mark                                                                        Work Product Protection;
                                                                                          investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                       Ho, William;                        trading activity in connection with CFTC DOE
128     Email               10/16/17 *Ringer, Steven                     *Picard, Mark                                                        Work Product Protection;
                                                     †Marquardt, Patrick                  investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                       *McDonald,                                          trading activity in connection with CFTC DOE
129     Email               5/15/18                      *Chopra, Neel                                                                        Work Product Protection;
                                         James                                            investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Confidential communication concerning review of
                                                                                                                                               Attorney Client Privilege;
                                                                                           trading activity in connection with CFTC DOE
130     Email               5/15/18   *Chopra, Neel    *McDonald, James                                                                       Work Product Protection;
                                                                                          investigation for the purpose of DOE providing
                                                                                                                                             Deliberative Process Privilege
                                                                                                 advice of counsel to Commission
                                                                                         Trade analysis prepared at the direction of counsel
                                      Bessembinder,                                                                                           Work Product Protection;
131     Edoc                 1/4/18                                                        in connection with CFTC DOE review of trading
                                         Hendrik                                                                                             Deliberative Process Privilege
                                                                                                              activity
                                                                                         Trade analysis prepared at the direction of counsel
                                      Bessembinder,                                                                                           Work Product Protection;
132     Edoc                1/18/18                                                        in connection with CFTC DOE review of trading
                                         Hendrik                                                                                             Deliberative Process Privilege
                                                                                                              activity



                                                                                                                                                            B-15
                              Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 50 of 57 PageID #:800
                                                                          PRIVILEGE LOG

Doc
        Type       Parent    Date     From/Author            To                CC                          Subject Matter                           Basis for Privilege
No
                                                                                          Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
                                                                                            trading activity in connection with CFTC DOE
133     Email               6/21/18   *Picard, Mark     †Kokal, Trevor                                                                         Work Product Protection;
                                                                                           investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                        Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
         Email                                                                            trading activity in connection with CFTC DOE
134                 133     5/30/18   †Kokal, Trevor   *Ringer, Steven    *Picard, Mark                                                        Work Product Protection;
      attachment                                                                         investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                                                                advice of counsel to Commission
                                                        *Chopra, Neel;                    Confidential communication concerning review of
                                                                                                                                                Attorney Client Privilege;
         Email                        †Marquardt,      *Sultan, Manal;                      trading activity in connection with CFTC DOE
135                 134     5/30/18                                                                                                            Work Product Protection;
      attachment                        Patrick        *Hickson, Lenel;                    investigation for the purpose of DOE providing
                                                                                                                                              Deliberative Process Privilege
                                                        †Kokal, Trevor                            advice of counsel to Commission
                                                                                          Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
136                 135                                                                     in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                               activity                       Deliberative Process Privilege
                                                                                          Confidential communication concerning review of
                                                                            *Picard,                                                            Attorney Client Privilege;
         Email                        †Marquardt,                                           trading activity in connection with CFTC DOE
137                 134     3/14/18                    *Ringer, Steven    Mark; †Kokal,                                                        Work Product Protection;
      attachment                        Patrick                                            investigation for the purpose of DOE providing
                                                                             Trevor                                                           Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
138                 137                                                                     in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                               activity                       Deliberative Process Privilege
                                                                                          Confidential communication concerning review of
                                                        *Picard, Mark;                                                                          Attorney Client Privilege;
         Email                        †Marquardt,                                           trading activity in connection with CFTC DOE
139                 134     10/4/17                    *Ringer, Steven;                                                                        Work Product Protection;
      attachment                        Patrick                                            investigation for the purpose of DOE providing
                                                        †Kokal, Trevor                                                                        Deliberative Process Privilege
                                                                                                  advice of counsel to Commission
                                                                                          Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
140                 139                                                                     in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                               activity                       Deliberative Process Privilege
                                                                                          Confidential communication concerning review of
                                                        *Picard, Mark;                                                                          Attorney Client Privilege;
         Email                        †Marquardt,                                           trading activity in connection with CFTC DOE
141                 134     5/4/17                     *Ringer, Steven;                                                                        Work Product Protection;
      attachment                        Patrick                                            investigation for the purpose of DOE providing
                                                        †Kokal, Trevor                                                                        Deliberative Process Privilege
                                                                                                  advice of counsel to Commission



                                                                                                                                                             B-16
                                Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 51 of 57 PageID #:801
                                                                PRIVILEGE LOG

Doc
         Type       Parent    Date      From/Author       To        CC                      Subject Matter                           Basis for Privilege
No
                                                                           Trade analysis prepared at the direction of counsel   Attorney Client Privilege;
         Email
142                  141                                                     in connection with CFTC DOE review of trading      Work Product Protection;
      attachment
                                                                                                activity                       Deliberative Process Privilege
                                                                           Trade analysis prepared at the direction of counsel
                                        Bessembinder,                                                                           Work Product Protection;
143      Edoc                                                                in connection with CFTC DOE review of trading
                                           Hendrik                                                                             Deliberative Process Privilege
                                                                                                activity
                                                                           Trade analysis prepared at the direction of counsel
                                        Bessembinder,                                                                           Work Product Protection;
144      Edoc                                                                in connection with CFTC DOE review of trading
                                           Hendrik                                                                             Deliberative Process Privilege
                                                                                                activity
                                                                             Notes reflecting analysis prepared by or at the
                                         †Marquardt,                                                                            Work Product Protection;
145      Edoc                12/14/17                                       direction of counsel in connection with CFTC DOE
                                           Patrick                                                                             Deliberative Process Privilege
                                                                                         review of trading activity
                                                                           Trade analysis prepared at the direction of counsel
                                         †Marquardt,                                                                            Work Product Protection;
146      Edoc                                                                in connection with CFTC DOE review of trading
                                           Patrick                                                                             Deliberative Process Privilege
                                                                                                activity
                                                                           Trade analysis prepared at the direction of counsel
                                        Bessembinder,                                                                           Work Product Protection;
147      Edoc                                                                in connection with CFTC DOE review of trading
                                           Hendrik                                                                             Deliberative Process Privilege
                                                                                                activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
148                          1/31/18    *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
149                           1/4/18    *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
150                          1/18/18    *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
151                                     *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
152                                     *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity


                                                                                                                                              B-17
                                Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 52 of 57 PageID #:802
                                                                PRIVILEGE LOG

Doc
         Type       Parent    Date      From/Author       To        CC                      Subject Matter                          Basis for Privilege
No
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
153                          5/29/18    *Ringer, Steven                     direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
154                           2/1/18    †Kokal, Trevor                      direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
155                          1/31/18    †Kokal, Trevor                      direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
156                          10/12/17   †Kokal, Trevor                      direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
157                           Jul-17    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
158                          1/18/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
159                          1/30/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
160                           1/4/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
161                           1/9/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
162                          10/12/17   *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
163                          10/5/17    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity


                                                                                                                                              B-18
                                Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 53 of 57 PageID #:803
                                                                PRIVILEGE LOG

Doc
         Type       Parent    Date      From/Author     To          CC                      Subject Matter                          Basis for Privilege
No
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
164                          12/14/17   *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
165                          12/8/17    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
166                           2/1/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
167                           2/1/18    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity
                                                                             Notes reflecting analysis prepared by or at the
      Handwritten                                                                                                               Work Product Protection;
168                           8/2/17    *Picard, Mark                       direction of counsel in connection with CFTC DOE
         notes                                                                                                                 Deliberative Process Privilege
                                                                                         review of trading activity




                                                                                                                                              B-19
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 54 of 57 PageID #:804




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



UNITED STATES OF AMERICA

       v.

GREGG SMITH, MICHAEL NOWAK,                         No. 19 CR 669 (EEC)
JEFFREY RUFFO, and CHRISTOPHER
JORDAN,

                       Defendants.



      DECLARATION OF JAMES MCDONALD PURSUANT TO 28 U.S.C. § 1746

I, James McDonald, declare under penalty of perjury as follows:

       1.      I am the Director of the Division of Enforcement of the Commodity Futures

Trading Commission (“Commission”). As Director, I am responsible for managing and directing

civil investigations and civil enforcement actions for alleged violations of the Commodity

Exchange Act and Commission regulations. I have held that position continuously from April

10, 2017, to the present.

       2.      I submit this Declaration in support of the Non-Party Commodity Futures Trading

Commission’s Motion to Quash Pretrial Rule 17 Subpoena Duces Tecum in the above-captioned

case (the “Motion”).

       3.      On December 17, 2019, the Commission received from defendant Gregg Smith a

subpoena duces tecum in connection with this matter (the “Subpoena”).

       4.      On January 31, 2020, the Commission delegated to me the authority to assert the

governmental deliberative process privilege over each of the documents (the “Privileged



                                                1

                                                                                             C-1
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 55 of 57 PageID #:805




Documents”) listed in the Commission’s log of privileged documents (“Privilege Log”), a copy

of which is attached to the Motion.

       5.      Following my personal consideration of this matter, the Commission, through its

delegation to me, has determined to assert a claim of deliberative process privilege over each of

the Privileged Documents.

       6.      I have personally reviewed each of the Privileged Documents.

       7.      Based on my review, I am asserting the deliberative process privilege over the

Privileged Documents because they include advice, evaluations, opinions, and recommendations

of Commission staff and of a consultant engaged by the Commission, Dr. Hendrik

Bessembinder, which pre-date determinations of the Commission and its staff regarding any

potential civil enforcement action. The Commission, through delegation to me, is of the opinion

that production of the Privileged Documents would have a substantial inhibiting effect upon the

fullness and frankness of written expression among the Commission and its staff and consultants,

and thus would have a detrimental effect on the Commission’s decision-making process.

       8.      Based on my review I have determined that all of the Privileged Documents, or,

as applicable, all portions of the Privileged Documents responsive to the Subpoena, are (1) intra-

agency documents created by members of the Commission’s staff or by Dr. Bessembinder; (2)

pre-decisional, because they were prepared in order to assist the Commission’s staff in arriving

at a specific decision; and (3) deliberative, in that the documents are related to the process by

which that decision was made.

       9.      Specifically, I have determined that the Privileged Documents are “intra-agency”

documents because each document was created by a member of the Commission’s staff or Dr.

Bessembinder for the Commission’s internal use only, and none of the Privileged Documents



                                                  2

                                                                                                C-2
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 56 of 57 PageID #:806




was, to my knowledge, disclosed to any person or entity outside the Commission and Dr.

Bessembinder.

          10.   I have determined that the Privileged Documents are “pre-decisional” because

they were prepared in order to assist the Commission in arriving at a specific decision. The

decision was whether to file a civil enforcement action, institute administrative proceedings, or

take other action against Smith or others in relation to unlawful trading in the precious metals

futures market.

          11.   I have determined that all of the Privileged Documents preceded, in temporal

sequence, the Commission’s filing of a civil enforcement action on September 16, 2019, against

Smith and Michael Nowak.

          12.   I have determined that the Privileged Documents are “deliberative,” in that they

were created in order to assist the Commission in the course of deciding whether to file a civil

enforcement action, institute administrative proceedings, or take other action against Smith or

others.

          13.   Based on my review, I believe that the deliberations, analysis, commentary and

opinions reflected in the Privileged Documents were part of a candid exchange of information

and ideas among members of the Commission’s staff and/or between staff and Dr.

Bessembinder.




                                                 3

                                                                                               C-3
   Case: 1:19-cr-00669 Document #: 87 Filed: 01/31/20 Page 57 of 57 PageID #:807




       14.    As set forth in the Privilege Log and the Motion, the Commission is also asserting

work product protection and attorney-client privilege over the Privileged Documents.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Dated: January 31, 2020
                                             /s/ James McDonald
                                             James McDonald




                                                 4

                                                                                               C-4
